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JAMES E. JOHNSON                              THE C ITY OF N EW Y ORK                                      Gary L. Bristol
Corporation Counsel                                                                                       Senior Counsel
                                             LAW D EPARTMENT                                        Tel: (212) 356-2163
                                                  I 00 CHURCH STREET                               Cell : (646) 476-0509
                                                  NEW YORK, NY I 0007

                                                                                                            is;~
                                                               October 30, 2020                          ~ V--
        VIAECF                                                    i'L, c-r-1· ~
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        Hon. Alvin K. Hellerstein                         / i)                ~             Ji.> -,
        Daniel Patrick Moynihan          , 1 7, 'I> ?,# /     ~~ ~      J
        United States Courthouse   / 1.M "'I
                                  -.l                                       '.Jif\.
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        500 Pearl S t r e el_r,t.'   t~                                   J "IJ JR,.-
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        NewYork,NY10007                        ... ~ ~ ~ ~ , . , . _ . - - - ~

                          Re:   S. G. obo P. C. v. N. Y. C. Dep 't of due., 20-cv-03529 (AKH.)fJt;~                 tJ,.A,
         Dear Judge Hellerstein:                                                ~~                                           l~


                 I am an Assistant Corporation Counsel in the office of Corporation Counsel ames .
         Johnson, attorney for Defendant in the above-referenced action wherein Plaintiff seeks attorneys'     'he~
                                                                                                                 ~J
         fees, costs and expenses for legal work on an administrative hearing under the Individuals with
         Disabilities Education Act, 20 U.S.C. §1400, et seq., as well as for this action.
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                I write to respectfully request an adjournment of initial pre-trial conference on November
         6, 2020 at 10:00 a.m., sine die . Plaintiff consents to this request. The need for this request is to
         allow the parties additional time to attempt to fully resolve this matter without burdening the
                                                                                                                   I         /f.
         Court with further litigation. The parties are currently negotiating possible settlement and are at
         the counter-offer discussion phase.

                 Additionally, Defendant proposes that the parties submit a status letter no later than
         November 30, 2020, either informing the Court that the case has fully resolved, or (a) proposing
         a briefing schedule, or (b) requesting referral to Magistrate Judge Fox for assistance with
         settlement if the parties believe that is appropriate at that time.

                Defendant notes the Complaint in this matter was filed on May 5, 2020, and that the vast
         majority of these IDEA fees-only cases are resolved within six months after the filing of the
         complaint without the need for significant litigation. See, e.g., S. G., et al v. New York City
         Department Of Education, 19-cv-07042(JPO); I.F. et al v. New York City Department of
         Education, l 9-cv-043 l 2(JPO); E.S., et al v. New York City Department of Education, l 9-cv-
         0l847(JPO).
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        Accordingly, Defendant respectfully requests that the initial pre-trial conference set for
November 6, 2020 at 10:00 a.m. be adjourned, sine die, and that the parties submit a status letter
no later than November 30, 2020

       Thank you for considering this request.
                                                     Respectfully submitted,
                                                            Isl
                                                     Gary L. Bristol
                                                     Senior Counsel
cc:    Kate E. Cassidy, Esq.
       Rebecca C. Shore, Esq. (via ECF)
       Attorneys for Plaintiff




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